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                     EXHIBIT 1
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                                                      LBRY Inc
                                                      Balance Sheet
                                                 As of December 7, 2022


                                                                                               TOTAL
ASSETS
 Current Assets
 Bank Accounts
  Business Checking                                                                               0.00
  LBRY Credits for 1099                                                                           0.00
  Mercury                                                                                  130,497.14
  PEX Prepaid Account                                                                         3,667.57
  SunTrust Checking                                                                         54,657.61
  SunTrust Money Market                                                                       1,000.06
  TD BUSINESS CONVENIENCE PLUS (X 5876)                                                           0.00
 Total Bank Accounts                                                                      $189,822.38
 Other Current Assets
  LBRY Credits                                                                                    0.00
   Inventory - Mark to Market                                                                     0.00
  Total LBRY Credits                                                                              0.00
  LBRY NOTE RECEIVABLE FROM ODYSEE                                                        1,630,000.00
  Payroll Refunds                                                                                 1.05
 Total Other Current Assets                                                              $1,630,001.05
 Total Current Assets                                                                    $1,819,823.43
 Fixed Assets
 Odysee - Par Value                                                                           1,000.00
 Total Fixed Assets                                                                         $1,000.00
 Other Assets
 Bitcoin                                                                                          0.00
 Total Other Assets                                                                             $0.00
TOTAL ASSETS                                                                             $1,820,823.43

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   Accounts Payable (A/P)                                                                 1,745,269.93
   Accounts Payable (A/P) - CAD                                                                   0.00




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                                                      LBRY Inc
                                                      Balance Sheet
                                                 As of December 7, 2022


                                                                                               TOTAL
 Total Accounts Payable                                                                  $1,745,269.93
 Other Current Liabilities
  Direct Deposit Payable                                                                          0.00
  Loan Payable                                                                                    0.00
  Payroll Liabilities
   CA PIT / SDI                                                                                   0.00
   CA SUI / ETT                                                                                   0.00
   CT Income Tax                                                                                  0.00
   Federal Taxes (941/944)                                                                 -107,559.94
   Federal Unemployment (940)                                                                  294.00
   LA Income Tax                                                                                  0.00
   LBC Buy Program                                                                          23,350.00
   MA Income Tax                                                                             -9,010.27
   MI Income Tax                                                                                  0.00
   MI Unemployment Tax                                                                         -374.00
   MO Income Tax                                                                                  0.00
   MO Unemployment Tax                                                                            0.00
   NH Unemployment Tax                                                                         -199.12
   NJ Income Tax                                                                                  0.00
   NJ Quarterly Taxes                                                                             0.00
   NV Unemployment Tax                                                                            0.00
   OK Income Tax                                                                                  0.00
   PA Income Tax                                                                               552.60
   PA Local Tax                                                                                   0.00
   PA Unemployment Tax                                                                          10.80
   SC Income Tax                                                                                  0.00
   SC Unemployment Tax                                                                            0.00
   TN Quarterly Taxes                                                                             0.00
   TX Unemployment Tax                                                                            0.00
   UT Income Tax                                                                                  0.00
   UT Unemployment Tax                                                                            0.00
  Total Payroll Liabilities                                                                 -92,935.93
 Total Other Current Liabilities                                                          $ -92,935.93
Total Current Liabilities                                                                $1,652,334.00
Long-Term Liabilities
 Futo Note Payble                                                                         1,900,000.00
Total Long-Term Liabilities                                                              $1,900,000.00
Total Liabilities                                                                        $3,552,334.00




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                                                    LBRY Inc
                                                    Balance Sheet
                                               As of December 7, 2022


                                                                                               TOTAL
 Equity
 Common Stock                                                                              348,600.00
 Federal Taxes Paid                                                                       -507,704.40
 LBRY Credits Par Value                                                                  3,816,039.53
 Opening Balance Equity                                                                     69,231.22
 Retained Earnings                                                                         563,574.82
 Treasury Stock                                                                           -200,000.00
 Unrealized Gain/Loss BTC                                                               -1,303,062.00
 Unrealized gain/loss LBC                                                                2,058,761.00
 Net Income                                                                             -6,576,950.74
 Total Equity                                                                          $ -1,731,510.57
TOTAL LIABILITIES AND EQUITY                                                            $1,820,823.43




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